No. 3:23-bk-00046          Doc 59       Filed 03/12/23       Entered 03/13/23 01:27:45            Page 1 of 4




                     IN THE UNITED STATED BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 IN RE:                              )
                                     )
 ENTSORGA WEST VIRGINIA, LLC,        )                  Case No. 3:23-bk-00046
                                     )
             Debtor.                 )                  Chapter 11
 ___________________________________ )

                                               ORDER
          On March 10, 2023, the court convened a telephonic hearing to obtain an update from the
 parties regarding their respective efforts negotiating resolutions to several motions, including the
 Debtor’s motion to obtain post-petition financing and the United States Trustee’s motion to
 dismiss. During the hearing, the parties indicated an inability to resolve the Debtor’s request for
 post-petition financing, and the Debtor reported its inability to obtain insurance of any type upon
 its property, particularly in the absence of an agreement regarding post-petition financing. Based
 upon that, the UST reiterated its position that failure to maintain insurance upon property of the
 estate constitutes cause to dismiss the case. See 11 U.S.C. § 1112(b)(4)(C).
          Therefore, for reasons fully stated on the record, the court does hereby
          ORDER that the UST’s motion to dismiss (Doc. No. 34), filed February 21, 2023, be and
 hereby is GRANTED, and the case is DISMISSED. Based upon the dismissal, the court does
 hereby
          FURTHER ORDER that the Debtor’s motion to obtain post-petition financing (Doc. No.
 4) and its motion to assume an executory contract (Doc. No. 6), both filed February 6, 2023, be
 and hereby are DENIED as Moot. Notably, however, the court does hereby
          FURTHER ORDER that it retains jurisdiction to consider an application for
 compensation, which Debtor’s counsel shall file not later than March 17, 2023.
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                                                              Northern District of West Virginia
In re:                                                                                                                 Case No. 23-00046-dlb
Entsorga West Virginia, LLC                                                                                            Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0424-3                                                  User: ad                                                                    Page 1 of 3
Date Rcvd: Mar 10, 2023                                               Form ID: pdfdoc                                                           Total Noticed: 70
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 12, 2023:
Recip ID                   Recipient Name and Address
db                     +   Entsorga West Virginia, LLC, 119 Recovery Way, Martinsburg, WV 25405-1705
cr                     +   Apple Valley Waste Services, Inc., 771 James Burr Boulevard, Kearneysville, WV 25430-1125
cr                     +   Berkeley County Solid Waste Authority, 19 Recovery Way, Martinsburg, WV 25405-1709
cr                     +   West Virginia Economic Development Authority, 180 Association Drive, Charleston, WV 25311-1217, UNITED STATES 25311-1217
1664400                +   AC&T Co., Inc., 11535 Hopewell Road, Hagerstown, MD 21740-2109
1664401                    AMCS Group, PO Box 360645, Pittsburgh, PA 15251-6645
1664403                +   AP Logistics, LLC, PO Box 265, Jewett, TX 75846-0265
1664404                +   Apple Valley Scale Company, PO Box 3434, Winchester, VA 22604-1134
1664406                +   Apple Valley Waste Services, Inc., 400 West Stephen Street, Suite 209, Martinsburg, WV 25401-3838
1664405                +   Apple Valley Waste Services, Inc., PO Box 309, Kearneysville, WV 25430-0309
1664523                    Atty General Of WV, BLDG 1 E-26 Ground Floor Main Unit, Capitol Building, Charleston WV 25301
1664409                +   Berkeley County SWA, 19 Recovery Way, Martinsburg, WV 25405-1709
1664407                +   Berkeley County Sheriff, 400 West Stephen Street, Suite 209, Martinsburg, WV 25401-3838
1664408                +   Berkeley County Solid Waste Authority, 870 Grapevine Road, Martinsburg, WV 25405
1664410                +   Bousum Transfer, LLC, PO Box 290, Petersburg, PA 16669-0290
1664412               #+   Chelsea Weister, 622 Morison Street, Charles Town, WV 25414-1141
1664413                +   Cintas, PO Box 630803, Cincinnati, OH 45263-0803
1664414                +   Clean Harbors Environmental Services,Inc, PO Box 734867, Dallas, TX 75373-4867
1664415                +   Conspec Controls, Inc., 6 Guttman Blvd., Charleroi, PA 15022-1015
1664416                +   Conti Testing Laboratories, Inc., PO Box 174, Bethel Park, PA 15102-0174
1664417                +   Crawford's Welding, Inc., 318 Kackley Way, Martinsburg, WV 25405-5094
1664418                +   Dennis Soward, PO Box 951, Kearneysville, WV 25430-0951
1664419                +   East Mountain Health Physicians, Inc., PO Box 1910, Winchester, VA 22604-8060
1664421                +   Elementar Americas, Inc., 119 Comac Street, Ronkonkoma, NY 11779-6931
1666167                +   Enrico A. Pellegrini, Esq., Pellegrini & Mendoza LLP, 250 Park Avenue, 7th Floor, New York, NY 10177-0799
1666168                +   Entsorgafin S.p.A., c/o: Enrico A. Pellegrini, Esq., Pellegrini & Mendoza LLP, 250 Park Avenue, 7th Floor, New York, NY 10177-0799
1664422                +   Ernest Fisher, 259 Drexel Court, Martinsburg, WV 25404-1116
1664423                +   Fireline Corporation, 4506 Hollins Ferry Road, Halethorpe, MD 21227-4671
1664424                +   First Insurance Funding, PO BOx 7000, Carol Stream, IL 60197-7000
1664425                +   Freed Maxick, PO Box 8000, Dept 644, Buffalo, NY 14267-0002
1664426                +   Frost Brown Todd, PO Box 5716, Cincinnati, OH 45201-5716
1664721                +   Frost Brown Todd LLP, Edward M. King, 400 W. Market Street, 32nd Floor, Louisville, KY 40202-3359
1664427                    Glessner Technologies, 12116 Sherman Avenue, Hagerstown, MD 21740
1664428                +   Hendrickson & Long, PLLC, 214 Capitol Street, PO Box 11070, Charleston, WV 25339-1070
1664430                +   James River Equipment, 245 Yardmaster Court, Stephenson, VA 22656-1761
1664431                +   Jared M. Adams, Esq., Adams Law Firm, PLLC, PO Box 755, Martinsburg, WV 25402-0755
1664433                +   Jason Fondren, 36 Venetian Court, Hedgesville, WV 25427-7471
1664434                +   Kiln Direct, LLC, 1880 Lynette Drive, Sumter, SC 29154-8093
1664436                +   Konecranes, Inc., PO Box 644994, Pittsburgh, PA 15264-4994
1664437                +   Kristopher Napier, 115 Mahoney Drive, Harpers Ferry, WV 25425-6423
1664438                +   Linder Recyclingtech America, LLC, 152 Walker Road, Statesville, NC 28625-2535
1664439                +   Matthew Malatt, 39 Stockade Court, Hedgesville, WV 25427-4983
District/off:
         No.0424-3
              3:23-bk-00046                 Doc 59                User: ad
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1664440                + McNees, Wallace, Nurick, LLC, PO Box 1166, Harrisburg, PA 17108-1166
1664441                + North American Millwright, 4480 North Point Blvd., Sparrows Point, MD 21219-1004
1664442                + Onion Strategies, LLC, 33 West Main Street, Buckhannon, WV 26201-2235
1664443                + Panhandle Builders & Excavating, Inc., 222 Langston Blvd., Martinsburg, WV 25404-6598
1664444                + Polsinelli, PC, PO Box 878681, Kansas City, MO 64187-8681
1664445                + Polsinelli, PC, 161 N. Clark Street, Chicago, IL 60601-3316
1664447                + Quad-State Air Compressor, 362 South Carlisle Street, Greencastle, PA 17225-1568
1664525                + Regional Bankruptcy Contact, U.S. Environmental Protection Agency, Region III, 1650 Arch Street (3RC00), Philadelphia PA 19103-2029
1664448                + Securitas Security Services USA, Inc., PO Box 403412, Atlanta, GA 30384-3412
1664449                + Stanley Cotta, 4262 Back Creek Valley Road, Hedgesville, WV 25427-6501
1664450                + Stewart Management Company, 301 North Market Street, Suite 1410, Wilmington, DE 19801-2529
1664451                + Tim Cottrell, PO Box 242, Ivydale, WV 25113-0242
1664528                + US Attorney, Northern District of WV, PO Box 591, Wheeling WV 26003-0011
1664452                + United Rentals PR, Inc., PO Box 100711, Atlanta, GA 30384-0711
1664456                + WM Corporate Services, Inc., PO Box 13684, Philadelphia, PA 19101-3684
1664457                + WV Economic Developement Authority, 180 Association Drive, Charleston, WV 25311-1217
1664458                + WVEDA Solid Waste Disposal Revenue Bonds, US Bank ATTN: Chris Gehman EX-VA-URIT, James Center II, 1021 East Cary St., Suite
                         1850, Richmond, VA 23219-4090
1664530                  West Virginia Insurance Commission, Legal Division - Bankruptcy, Post Office Box 50540, Charleston WV 25305-0540
1664454                + William Hess, 212 WInchester Avenue, Apt. B, Martinsburg, WV 25401-2604
1664455                + Williams Scotsman, Inc., PO Box 91975, Chicago, IL 60693-1975
1664420                + eFactor3, LLC, 15050 Choate Circle, Suite E, Charlotte, NC 28273-7342

TOTAL: 63

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
1664411                + Email/Text: cborrelli@bressler.com
                                                                                        Mar 10 2023 18:54:00      Bressler, Amery, & Ross, P.C., 325 Columbia
                                                                                                                  Turnpike, Suite 301, Florham Park, NJ
                                                                                                                  07932-1235
1664524                    Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Mar 10 2023 18:54:00      Internal Revenue Service, Post Office Box 7346,
                                                                                                                  Philadelphia PA 19101-7346
1664446                + Email/Text: bankruptcy@firstenergycorp.com
                                                                                        Mar 10 2023 18:54:00      Potomac Edison, PO Box 3615, Akron, OH
                                                                                                                  44309-3615
1664526                + Email/Text: karen.brown@treasury.gov
                                                                                        Mar 10 2023 18:54:00      Secretary Of The Treasury, 15th St &
                                                                                                                  Pennsylvania Avenue, Washington DC
                                                                                                                  20220-0001
1664527                + Email/Text: ssa.bankruptcy@ssa.gov
                                                                                        Mar 10 2023 18:54:00      Social Security Administration, 300 Spring Garden
                                                                                                                  Street, Philadelphia PA 19123-2999
1664529                    Email/Text: TaxBankruptcy@wv.gov
                                                                                        Mar 10 2023 18:54:00      WV Dept of Tax & Revenue, Bankruptcy Unit,
                                                                                                                  Post Office Box 766, Charleston WV 25323-0766
1664453                + Email/Text: TaxBankruptcy@wv.gov
                                                                                        Mar 10 2023 18:54:00      West Virginia State Tax Department, P.O. Box
                                                                                                                  1826, Charleston, WV 25327-1826

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason     Name and Address
1665231          *+                Apple Valley Scale Company Inc., PO Box 3434, Winchester VA 22604-1134
1664432          *+                Jared M. Adams, Esq., Adams Law Firm, PLLC, PO Box 755, Martinsburg, WV 25402-0755
1664435          *+                Kiln Direct, LLC, 1880 Lynette Drive, Sumter, SC 29154-8093
1664402          ##+               American Pest Control, LLC, 1314 Edwin Muller Blvd., Martinsburg, WV 25404-5717
1664429          ##+               Impact Paving, LLC, 2741 Hilltop Road, Oakdale, PA 15071-2100

TOTAL: 0 Undeliverable, 3 Duplicate, 2 Out of date forwarding address
District/off:
         No.0424-3
              3:23-bk-00046              Doc 59                User: ad
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Date Rcvd: Mar 10, 2023                                           Form ID: pdfdoc                                                     Total Noticed: 70

                                                  NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 12, 2023                                        Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 10, 2023 at the address(es) listed
below:
Name                            Email Address
Arthur M. Standish
                                on behalf of Creditor US Bank Trust Company N.A., as Indentured Trustee art.standish@steptoe-johnson.com

Brian Richard Blickenstaff
                                on behalf of Debtor Entsorga West Virginia LLC bblickenstaff@johnswvlaw.com

Charles S. Trump, IV
                                on behalf of Creditor Berkeley County Solid Waste Authority ctrump@trumpandtrump.com chenry@trumpandtrump.com

Debra Lee Allen
                                on behalf of Creditor West Virginia Economic Development Authority dallen@spilmanlaw.com

John Douglas Elrod
                                on behalf of Creditor US Bank Trust Company N.A., as Indentured Trustee elrodj@gtlaw.com, fieldss@gtlaw.com

Julia A. Chincheck
                                on behalf of Creditor Apple Valley Waste Services Inc. jchincheck@bowlesrice.com, ajones@bowlesrice.com

Michael R. Proctor
                                on behalf of Creditor Apple Valley Waste Services Inc. mproctor@bowlesrice.com, lcrown@bowlesrice.com

Shari Lynne Collias
                                on behalf of U.S. Trustee United States Trustee shari.collias@usdoj.gov

United States Trustee
                                ustpregion04.ct.ecf@usdoj.gov

W. Eric Gadd
                                on behalf of Creditor West Virginia Economic Development Authority EGadd@spilmanlaw.com

Zachary James Rosencrance
                                on behalf of Creditor Apple Valley Waste Services Inc. zrosencrance@bowlesrice.com, ajones@bowlesrice.com


TOTAL: 11
